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                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION

                                                  )
 In re: Valsartan NDMA Contamination              )          MDL No. 88
 Litigation                                       )
                                                  )

         PLAINTIFF ROBERT KRUK’S MOTION TO TRANSFER ACTIONS
        TO THE DISTRICT OF NEW JERSEY PURSUANT TO 28 U.S.C. § 1407
       FOR COORDINATED OR CONSOLIDATED PRETRIAL PROCEEDINGS

       Movant, Robert Kruk, the plaintiff in Kruk v. Zhejiang Huahai Pharmaceutical Co. et al.,

No. 18-cv-005944 (N.D. Ill.), hereby moves for transfer pursuant to 28 U.S.C. § 1407 and entry

of an order transferring the actions listed below and in the accompanying Schedule of Actions

(collectively, the “Scheduled Actions”) to the United States District Court for the District of New

Jersey for consolidated or coordinated pretrial proceedings. As stated below and in the

accompanying memorandum, the eleven Scheduled Actions share a high degree of commonalty,

such that transfer and consolidation is necessary to avoid inconsistent pretrial rulings, duplicative

discovery obligations, inconsistent or overlapping class certification rulings, and promote the just

and efficient conduct of this litigation. In support of this Motion, Movant states as follows:

       1.      The Movant is the named plaintiff in Kruk v. Zhejiang Huahai Pharmaceutical Co.

et al., No. 18-cv-005944 (N.D. Ill.), one of the Scheduled Actions.

       2.      All of the Scheduled Actions arise out of a common factual core—the defendant

manufacturers, distributors, marketers and retailers of the drug Valsartan defectively

manufactured, deceptively marketed, and sold a dangerous drug contaminated with a known

carcinogen.

       3.      The Scheduled Actions include ten putative class actions, five of which are already

pending in the District of New Jersey, and one individual action.




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               a.      Putative Class Actions.

       Borkowski v. Prinston Pharmaceutical Inc. et al., No. 18-cv-01150 (W.D.N.Y.)

       Duffy v. Solco Healthcare U.S., LLC, et al., No. 18-cv-15076 (D.N.J.)
       (transferred from S.D.N.Y., No. 18-cv-07460)

       Erwin v. Prinston Pharmaceutical Inc., et al., No. 18-cv-13447 (D.N.J)

       Gonteski v. Huahai U.S., Inc., et al., No. 18-cv-14858 (D.N.J.)

       Jones v. Zhejiang Huahai Pharmaceutical Co. et al., No. 18-cv-01525 (E.D. Mo.)

       Judson v. Prinston Pharmaceutical Inc., et al., No. 18-cv-01405 (E.D. Cal.)

       Kruk v. Zhejiang Huahai Pharmaceutical Co. et al., No. 18-cv-005944 (N.D. Ill.)

       Lewis v. Zhejiang Huahai Pharmaceutical Co. et al., No. 18-cv-00247 (E.D. Tenn.)

       O’Neill v. Solco Healthcare U.S. Inc., et al., No. 18-cv-14840 (D.N.J.)

       Stimma v. Torrent Pharma Inc., et al., No. 18-cv-14318 (D.N.J.)

               b.      Individual action.

       Gentry v. Solco Healthcare U.S., LLC, et al., No. 18-cv-04214 (W.D. Mo.)

       4.      Movant is not aware of any other related actions pending in any federal court.

       5.      Movant proposes that all eleven Scheduled Actions identified above and in the

attached Schedule of Actions, in addition to any other subsequently-filed related actions, be

transferred to Judge Freda L. Wolfson of the U.S. District Court for the District of New Jersey for

coordinated and consolidated pretrial proceedings.

       6.      Centralization of these Scheduled Actions in a single judicial district for

consolidated pretrial proceedings will promote the just and efficient conduct of these Scheduled

Actions, will serve the conveniences of all parties and witnesses, and will promote the interests of

justice. Each Scheduled Action arises from the same or substantially similar set of facts involving

the manufacture, distribution, marketing and sale of Valsartan.



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        7.      Transfer of the Scheduled Actions to a single court for consolidated pretrial

proceedings will conserve judicial resources, reduce litigation costs, prevent potentially

inconsistent pretrial rulings, and permit the cases to proceed to trial more efficiently. Further,

because discovery in each of the Scheduled Actions will involve many of the same witnesses and

document production, transfer and consolidation would also avoid duplicative discovery to the

benefit of plaintiffs and defendants.

        8.      Transfer of the Scheduled Actions is most appropriate to the Honorable Freda L.

Wolfson, United States District Judge for the District of New Jersey, because the majority of the

Scheduled Actions are already pending in the District of New Jersey and the overwhelming

majority of defendants named in the Scheduled Actions are based in New Jersey. Judge Wolfson

currently presides over four of the Scheduled Actions pending in the District of New Jersey.

        9.      This Motion is supported by the accompanying brief in support filed concurrently

herewith, as well as any other materials or oral argument that may be presented to the Panel before

or at the time of any hearing on this matter.

        WHEREFORE, Movant, plaintiff in the Kruk v. Zhejiang Huahai action, respectfully

requests that the cases listed in the contemporaneously-filed Schedule of Actions, and all other

subsequently-filed related actions, be transferred and consolidated before Judge Freda L. Wolfson

of the District of Illinois.

Dated: October 22, 2018                              Respectfully Submitted,

                                                     By: /s/ Paul T. Geske
                                                     One of Movant’s Attorneys

                                                     Myles McGuire
                                                     Paul Geske
                                                     MCGUIRE LAW P.C.
                                                     55 West Wacker Drive, Suite 900
                                                     Chicago, Illinois 60601



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                               mmcguire@mcgpc.com
                               pgeske@mcgpc.com
                               Tel. 312.893.2490

                               Scott Morgan
                               MORGAN LAW FIRM, LTD.
                               55 West Wacker Drive, Suite 900
                               Chicago, Illinois 60601
                               smorgan@smorgan-law.com
                               Tel. 312.327.3368

                               John Sawin
                               SAWIN LAW FIRM, LTD.
                               55 West Wacker Drive, Suite 900
                               Chicago, Illinois 60601
                               jsawin@sawinlawyers.com
                               Tel. 312.853.2490

                               Counsel for Plaintiff Robert Kruk




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